Trn−501 [Order Appointing Interim Trustee] (Rev. 09/15)


                                      United States Bankruptcy Court
                 NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION


In re:                                                                             Case No. 19−01667−TOM7
William J Clapp Jr.                                                                Chapter 7
SSN: xxx−xx−0787


          Debtor(s)


                            ORDER APPOINTING INTERIM TRUSTEE AND
                                  APPROVING STANDING BOND
       It is ORDERED and notice is hereby given that:

      1. The following interim trustee is hereby appointed, and the trustee's standing bond is fixed under the general
blanket bond heretofore approved.



                                                   Thomas E Reynolds
                                               Reynolds Legal Solutions, LLC
                                              300 Richard Arrington Jr. Blvd. N
                                                         Suite 503
                                                  Birmingham, AL 35203



       2. Unless the interim trustee files a rejection of this appointment within seven (7) days following receipt of
this order, the trustee will be deemed to have accepted this appointment as provided by Rule 2008.

Dated: April 22, 2019

                                                               /s/ Tamara O Mitchell
                                                               United States Bankruptcy Judge
cmh




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